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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                 )
NATIONAL STUDENT LEGAL DEFENSE                   )
NETWORK,                                         )
                                                 )
               Plaintiff,                        )
                                                 )
       v.                                        )        Civil Action No. 21-1923 (BAH)
                                                 )
UNITED STATES DEPARTMENT OF                      )
EDUCATION,                                       )
                                                 )
               Defendant.                        )
                                                 )

                                JOINT STATUS REPORT

       Pursuant to the Court’s December 2, 2021 Minute Order, the parties, by and through their

respective undersigned counsel, respectfully submit this Joint Status Report to apprise the Court

of the status of this Freedom of Information Act (“FOIA”) case.

       On July 16, 2021, Plaintiff National Student Legal Defense Network (“Plaintiff”) sued

Defendant United States Department of Education (“Defendant”). Plaintiff alleges that Defendant

has failed to conduct an adequate search and is wrongfully withholding records responsive to

Plaintiff’s FOIA request for certain communications between Defendant and the Social Security

Administration about regulations known as the Gainful Employment Rule.

       The parties informed the Court in their December 1, 2021 Joint Status Report (ECF No.

9) that Defendant provided its first interim response and final response on October 15 and 29,

2021, respectively. Defendant further reported that it anticipated providing Plaintiff a Vaughn

index of information withheld under FOIA Exemption 5 by January 15, 2022.

       Defendant was unable to provide a full Vaughn index of information withheld under FOIA

Exemption 5 until January 26, 2022 because of connectivety issues that precluded remote
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 employee access to information needed to complete the Vaughn index. Plaintiff represents that it

 needs time to review and assess the Vaughn index. Accordingly, the parties respectfully propose

 that they file another joint status report by March 2, 2022, to afford the parties time to determine

 whether there are any issues that remain and, if so, attempt to narrow or resolve the issues without

 judicial intervention.


Respectfully submitted,

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 Dated: January 31, 2022




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